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  In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
AMY DUNLAP,              *
                         *                         No. 17-1353V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: June 30, 2022
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         brachial neuritis.
                         *
             Respondent. *
******************** *

Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner;
Alexis B. Babcock, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On June 30, 2022, the parties filed a joint stipulation concerning the petition
for compensation filed by Amy Dunlap on September 27, 2017. Petitioner alleged
that the influenza (“flu”) vaccine she received on November 24, 2015, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused
her to suffer from brachial neuritis. Petitioner further alleges that she suffered the
residual effects of this injury for more than six months. Petitioner represents that
there has been no prior award or settlement of a civil action for damages on her
behalf as a result of her condition.

      Respondent denies that the flu vaccine caused petitioner to suffer from
brachial neuritis or from any other injury or her current condition.

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $51,500.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment according to this decision and the attached
stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
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